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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 NEXTERA ENERGY MARKETING, LLC,

                 Plaintiff,                                Case No.: 1:20-CV-07075-JPO

          vs.                                               DEFAULT JUDGMENT

 EAST COAST POWER & GAS, LLC,

                 Defendant.



         This action having been commenced on August 31, 2020, by the filing of the Summons

and Complaint, and a copy of the Summons and Complaint having been personally served on the

defendant East Coast Power & Gas, LLC (“ECPG”), on September 2, 2020, by personally

delivering and leaving with Heather McNeil, the Executive Assistant to the CEO of ECPG, who

advised the process server that she was authorized to accept service on behalf of ECPG, the

Summons and Complaint (with Exhs. A-F), the ECF Rules of Court, and the Rules of Judge J.

Paul Oetken, and proof of service by the process server having been filed on September 11,

2020, and ECPG not having appeared in this action nor answered or moved with respect to the

Complaint, and the time for answering or moving with respect to the Complaint having expired,

it is:

         ORDERED, ADJUDGED AND DECREED: That Plaintiff NextEra Energy Marketing,

LLC have judgment against defendant East Coast Power & Gas, LLC in the liquidated amount of

$399,118.87, plus interest at 9% per annum from June 3, 2020, for a total as of October 8, 2020

of $411,616.94, plus costs and disbursements of this action in the amount of $566.59, amounting

in all to $412,183.53.




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Dated: New York, New York
       October 20, 2020
                                         ___________________________________
                                                       U.S.D.J.




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